       Case 2:21-cv-03591-MAK Document 37-14 Filed 04/25/22 Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                          )
 ADRIAN ROSALIO REYES OVALLE;)
 JUAN MARIO REYES OVALLE;                 )
 MIGUEL ANGEL REYES OVALLE; )
 LUIS MIGUEL ROQUE OVALLE;                )
 BENJAMIN RUIZ VAZQUEZ; and               )           CIVIL ACTION NO. 2:21-cv-03591
 PATRICK ULUPANO,                         )
              Plaintiffs,                 )
        v.                                )
 HARRIS BLACKTOPPING, INC. d.b.a.)
        HARRIS PAVING;                    )
 JAMES W. HARRIS, JR.; and HARRY )A.
 HARRIS,                                  )
              Defendants.                 )
                                          )
                                          )
                                          )
                               CERTIFICATE)       OF SERVICE
                                          )
      I, Samuel Datlof, Esq., certify that on April 25, 2022, a true and correct copy of

Plaintiffs’ Motion for Protective Order and for an Order Permitting Remote Depositions for

Certain Plaintiffs was served upon Defendants’ counsel by electronic service through the Court’s

ECF system at the following address:

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Date: April 25, 2022                                       /s/ Samuel Datlof
                                                           Samuel Datlof, Esq.
